                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                   )
                                             )
                                             )
                                             )
 Vs.                                         )                     ORDER
                                             )
 DAVID LEE FUDGE,                            )
                                             )
                  Defendant.                 )



       THIS MATTER is before the court on appointment of a second attorney as provided in

18 U.S.C. § 3005. After consultation with Learned Counsel, the court approves and allows the

substitution of Scott Gsell for interim counsel, Mekka Danielle Jeffers-Nelson, who this court

thanks for her service in this matter.

                                         ORDER

       IT IS, THEREFORE, ORDERED that interim counsel Mekka Danielle Jeffers-Nelson

is RELIEVED from further representation of defendant in this matter, and Scott Gsell is

SUBSTITUTED as counsel, to serve as second chair, for defendant David Lee Fudge.




 Signed: May 22, 2015




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